UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

                v.
                                                Case No. S4 1:19-cr-0833 (SHS)
 JENNIFER SHAH,

                               Defendant.



                      NOTICE OF DEFENDANT JENNIFER SHAH’S
                           OMNIBUS MOTION IN LIMINE

       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law, and upon

all prior pleadings filed in this action, Defendant Jennifer Shah, by and through her counsel,

ChaudhryLaw PLLC, respectfully moves this Court before the Honorable Sidney H. Stein,

United States District Judge, Daniel Patrick Moynihan United States Courthouse, 500 Pearl

Street, New York, NY 10007, at a date and time to be determined by the Court, for an Order:


       1)      Precluding the government’s proposed 404(b) evidence;

       2)      Precluding the government from using any clips from The Real Housewives of
               Salt Lake City in its case-in-chief or for cross examination; and

       3)      Precluding the government from introducing statements of alleged co-
               conspirators.

Dated: New York, New York
       February 15, 2022
                                             ChaudhryLaw PLLC

                                             By:     /s/ Priya Chaudhry
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